Case 1:15-cv-23422-KMW Document1 Entered on FLSD Docket 09/10/2015 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.

JORGE VAZQUEZ, on behalf of himself and all
others similarly situated,

Plaintiff,
vs.
720 OCEAN DRIVE, LLC, d/b/a THE PLACE, a Florida
limited liability company; and STEFANO
FRITTELLA, individually,

Defendants.
f

COMPLAINT AND JURY TRIAL DEMAND

Plaintiff JORGE VAZQUEZ, through undersigned counsel and on behalf of himself and
all those similarly situated, sues Defendants 720 OCEAN DRIVE, LLC, d/b/a THE PLACE, a
Florida limited liability company (“THE PLACE”), and STEFANO FRITTELLA, individually
(“FRITELLA”)(all named Defendants collectively referred to as “Defendants’”), and alleges as
follows:

1. This is an action for unlawful failure to pay overtime compensation and minimum
wages as required by the federal Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§206(a) and
207(a), and its implementing regulations.

2. This Court has jurisdiction over this case based on federal question jurisdiction,
28 U.S.C. §1331, and the provisions of the FLSA, 29 U.S.C. §216(b).

3. Venue is proper in this Court as all actions complained of herein occurred in the

Southern District of Florida.
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4. Plaintiff JORGE VAZQUEZ at all relevant times was, and still is, a resident of
Miami-Dade County, Florida, and is sui juris. Plaintiff brings this action on behalf of himself and
all other current and former employees of Defendants who are similarly situated.

5. Defendant THE PLACE is, and at all relevant times was, a Florida limited liability
company doing business in Miami-Dade County, Florida. THE PLACE is, and at all relevant
times was, a company that owned and operated a restaurant in Miami-Dade County, Florida, and
upon information and belief, used, purchased, and sold materials and goods in interstate
commerce, and had annual gross revenues in excess of $500,000.00.

6. Defendant FRITELLA is, and at all relevant times was, a resident of Miami-Dade
County, Florida, and are sui juris. At all relevant times, FRITELLA was and still is an owner,
operator, and agent of THE PLACE, was and still is an agent authorized to do business on behalf
of THE PLACE, and acted in the course and scope of his employment and agency as owner,
operator, and agent of THE PLACE with regard to Plaintiff and all those similarly situated.

7. At all relevant times THE PLACE was and still is an “employer” under the FLSA
for purposes of enterprise coverage in that it was an enterprise that had two or more employees
handling, selling, or otherwise working on goods or materials that have been moved in or
produced for commerce by any person, and had gross annual revenues of not less than
$500,000.00. In addition, FRITELLA was at all relevant times, and still is, a statutory
“employer” under the FLSA in that he acted, directly or indirectly, on behalf of THE PLACE in
relation to Plaintiff, and regularly exercised authority to hire and fire employees of THE PLACE,
determined the work schedules of employees of THE PLACE, set the rates of pay and

compensation for employees of THE PLACE, and controlled the finances and operations of THE

PLACE.
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8. At all times during his employment as a server for Defendants, from in or about
January 2012 through on or about November 2014, Plaintiff was at various times a non-exempt
employee who regularly worked over 40 hours in one or more work weeks for which he was
entitled to receive overtime compensation under the FLSA. Plaintiff estimates that he regularly
worked at least 8 to 12 overtime hours each work week for 51 weeks each year during the period
of employment as a server, but was not paid any overtime premium compensation as required by
the FLSA.

9. In addition, from January 2012 through in or about March of 2013, Plaintiff was
not paid any wages whatsoever in one or more pay periods despite working regular hours for
which Defendant had agreed to pay him at the rate of $4.65 per hour plus tips. Instead of paying
Plaintiff his regular hourly rate for all regular hours worked each work week, Defendants would
improperly deduct from Plaintiff's hourly wages the total amount of tips paid to Plaintiff each
work week, which resulted in Plaintiff receiving $0 in wages in one or more work weeks, in
violation of the minimum wage provisions of the FLSA..

10. The additional persons who may become Plaintiffs in this action are all of
Defendants’ servers who in one or more weeks during the three-year period immediately filing of
this lawsuit worked in excess of forty (40) hours in one or more work weeks, and who were not
paid any overtime premium equal to one and one-half times their regular hourly wage rate in
those work weeks. The additional persons who may become Plaintiffs are also all of
Defendants’ servers who in one or more weeks during the three-year period immediately filing of
this lawsuit had their tips deducted from their regular hourly wages so they received less than the

applicable minimum wage allowed under the FLSA.
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11. It is believed that during the three-year period immediately preceding the filing of
this lawsuit, there were other servers employed by Defendants who worked more than 40 hours
in one or more work weeks, and who were not paid at least one and one-half times their regular
hourly wage rate for all overtime hours worked as required by the FLSA.

12. It is believed that during the three-year period immediately preceding the filing
of this lawsuit, there were other servers employed by Defendants who had their tip payouts
improperly deducted from their regular hourly wages resulting in wage payments of $0 or at least
less than the prevailing federal minimum wage, in violation of the minimum wage requirements
of the FLSA.

13. While Plaintiff kept and maintained some of his pay and time records, the
complete records of the hours worked per work week and the compensation actually paid to
Plaintiff and those similarly situated are, or should be, currently in the possession, custody, and
control of Defendants.

14. All conditions precedent to the filing of this action have been satisfied, waived, or
otherwise excused.

15. Plaintiff has hired the undersigned attorneys to represent him in this case and has
agreed to pay the firms a reasonable fee for their services.

COUNT I - UNPAID OVERTIME VIOLATION OF FLSA

16. Plaintiff re-alleges paragraphs 1 through 15 as if set forth fully herein.

17. Under the FLSA, Defendants were obligated to pay Plaintiff, and all those
similarly situated, one and one-half times their hourly pay rate for all hours worked in excess of

forty (40) hours per work week. However, Plaintiff and all those similarly situated worked in
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excess of forty (40) hours in one or more work weeks and were not paid the extra one and one-
half time overtime premium for each overtime hour work.

18. Defendants have failed and refused to pay Plaintiff and all those similarly situated
the required extra overtime compensation for all overtime hours Plaintiff and all those similarly
situated worked in excess of forty (40) hours per work week, in violation of the FLSA overtime
requirements of 29 U.S.C. §207(a).

19. As a direct and proximate result of Defendants’ violations of the FLSA, Plaintiff
and all those similarly situated have suffered damages equal to one and one-half their hourly rate
of pay for each hour worked in excess of forty (40) hours per work week in the relevant time
period, plus double that amount in liquidated damages as provided under the FLSA.

20. Defendants engaged in their overtime pay violations under the FLSA willfully,
intentionally, and in reckless disregard of the rights of Plaintiff and all those similarly situated
under the law, inasmuch as Defendants have previously been sued for similar FLSA overtime
violations at other affiliated restaurants with the same owners and operators, and were thus fully
aware that their actions, and failure to pay overtime wages, violated the FLSA.

21. Plaintiff and all those similarly situated are entitled to recover their costs,
expenses, and reasonable attorney’s fees under the FLSA.

WHEREFORE, Plaintiff and all those similarly situated demand judgment against
Defendants, jointly and severally, for all unpaid overtime as required under the FLSA, liquidated

damages, interest, costs, expenses, attorney’s fees, and such further relief as the Court deems just

and equitable.
COUNT II - UNPAID MINIMUM WAGE VIOLATION OF FLSA

22. _ Plaintiff re-alleges paragraphs 1 through 15 and 21 as if set forth fully herein.
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23. Under the FLSA, Defendants were obligated to pay Plaintiff, and al! those
similarly situated, the prevailing minimum wage for all regular hours they worked. However,
Plaintiff and all those similarly situated were not paid the required minimum wage, and were
often not paid any money whatsoever, for their hours worked in one or more work weeks.

24. Defendants have failed and refused to pay Plaintiff and all those similarly situated
the required minimum wage for one or more hours Plaintiff and all those similarly situated
worked in in one or more work weeks, in violation of the FLSA overtime requirements of 29
U.S.C. §206(a).

25. Asa direct and proximate result of Defendants’ violations of the FLSA, Plaintiff
and all those similarly situated have suffered damages equal to the unpaid minimum wages for
all hours they worked yet were not paid the prevailing federal minimum wage, as provided under
the FLSA.

26. Defendants engaged in their minimum wage violations under the FLSA willfully,
intentionally, and in reckless disregard of the rights of Plaintiff and all those similarly situated
under the law, inasmuch as Defendants have previously been sued for similar FLSA violations at
other affiliated restaurants that involved the same owners and operators, and were thus fully
aware that their actions, and failure to pay minimum wages, violated the FLSA.

WHEREFORE, Plaintiff and all those similarly situated demand judgment against
Defendants, jointly and severally, for all unpaid overtime as required under the FLSA, liquidated

damages, interest, costs, expenses, attorney’s fees, and such further relief as the Court deems just

and equitable.
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DEMAND FOR JURY TRIAL
Plaintiff hereby demands trial by jury of all issues so triable.

DATED: September 10, 2015.

 

 

RODERICK V. HANNAH, ESQ., P.A. LAW OFFICE OF PELAYO
Counsel for Plaintiff DURAN, P.A.
8751 W. Broward Blvd., Suite 303 Co-Counsel for Plaintiff
Plantation, FL 33324 4640 N.W. 7" Street
T. 954/362-3800 Miami, FL 33126-2309
954/362-3779 (Facsimile) T. 305/266-9780

305/269-8311 (Facsimile)
By s/ Roderick V. Hannah By _s/ Pelayo M. Duran
RODERICK V. HANNAH PELAYO M. DURAN
Fla. Bar No. 435384 Fla. Bar No. 0146595
IS 44 (Rev. IMAG Rdifiede Dr OP-ARu9, 20) VV Document 1 BCk¥BdGOVEBISHEEEt 09/10/2015 Page 8 of 12

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadin
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rovided by local rules of court. This form, approved by the Judicial Conference of the
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS JORGE VASQUEZ, on behalf of himself and all
others similarly situated,

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Pelayo M. Duran 4640 NW 7th St. Miami, F] 33126

305-266-9780

(d) Check County Where Action Arose:

for the use o

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE:

Attomeys (if Known)

IN LAND CONDEMNATION CAS
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$s or other papers as required by law, except as
qd P ihe Clerk of Court for the purpose

DEFENDANTS 720 Ocean Drive, LLC d/b/a THE PLACE, a

Florida limited liabilty company; and STEFANO
FELT TELLA, Andi Goal,

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@ miaMiepape OF mMonaoe OF BrowARD OD PALM BEACH CUMARTIN E1si.cucie GUINDIANRIVER DIOKEECHOBEE (HIGHLANDS

 

II. BASIS OF JURISDICTION

(Place an “N™ in One Box Only)

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES ¢Ptace an “x” in One Box for Plaintiff)

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Plaintiff (U.S. Government Not a Party) Citizen of This State Q1 ©} _Incomonied or Principal Place O+ a4
of Business In This State
O 2 US. Govemment O4 Diversity Citizen of Another State O2 © 2 _ Incorporated and Principal Place Oo; O85
Defendant (indicate Citizenship of Parties in hem Hh of Business In Another State
Citizen or Subject of a 03 (3 Foreign Nation Oe O64
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only)
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
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Proceeding State Court VI below) Reopened another district Litigation 7 Magistrate
(specify) Judgment
a) Re-filed Case OYES DONO b) Related Cases OYES ONO

VI. RELATED/
RE-FILED CASE(S)

VII. CAUSE OF ACTION
VIII. REQUESTED IN

COMPLAINT:

ABOVE JNFO
DATE

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FOR OFFICE USE ONLY
RECEIPT #

(See instructions):

JUDGE

DOCKET NUMBER

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do nor cite jurisdictional statutes untess diversity):

a CHECK IF THIS IS A CLASS ACTION
UNDER F.R.C.P. 23

AMOUNT

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SIGNATURE OF ATTORNEY OF RECORD

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LENGTH OF TRIAL via > days estimated (for both sides to try entire case)

DEMAND $

JUDGE

CHECK YES only if demanded in complaint:

JURY DEMAND:

  
 

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AO 440 (Rev. 06/12) Summons in a Civil Action

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- UNITED STATES DISTRICT COURT

for the

JORGE VASQUEZ, on behalf of himself and all
others similarly situated,

Plaintiff(s)
v.
720 Ocean Drive, LLC d/b/a The Place, a Florida

limited liability company; and Stefano Frittella,
indivudualy

Civil Action No. 1:15cv23422

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Defendant(s) i”

SUMMONS IN A CIVIL ACTION

720 Ocean Drive, LLC d/b/a The Place, a Florida limited liability Company
850 Ocean Drive
Miami Beach, FL 33139

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Pelayo M. Duran

4640 NW 7th St.
Miami, FL 33126

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

- Signature of Clerk or Deputy ( Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 1:15¢v23422

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (xame of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; Or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

_ BS on (date) ; or

© I returned the summons unexecuted because ; Or
J Other (specifiy:

My fees are $ for travel and $ for services, for a total of $ 592,994.00 .

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:15-cv-23422-KMW Document1 Entered on FLSD Docket 09/10/2015 Page 11 of 12

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

JORGE VASQUEZ, on behalf of himself and all
others similarly situated,

Plaintiffs) Oo
Vv.
720 Ocean Drive, LLC d/b/a The Place, a Florida

limited liability company; and Stefano Frittella,
indivudualy

Civil Action No. 1:15¢v23422

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SUMMONS IN A CIVIL ACTION

Stefano Frittella
850 Ocean Drive
Miami Beach, FL 33139

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you reccived it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
Pelayo M. Duran

4640 NW 7th St.
Miami, FL 33126

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:15-cv-23422-KMW Document1 Entered on FLSD Docket 09/10/2015 Page 12 of 12

 

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

 

Civil Action No. 1:15cv23422 _

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Y)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)
on (date) ; Or

© I left the summons at the individual’s residence or usual place of abode with (name) -

, a person of suitable age and discretion who resides there,

, and mailed a copy to the individual’s last known address; or

on (date)
© I served the summons on (name of individual) , Who is
designated by law to accept service of process on behalf of (name of organization)
on (date) 5 or
0 I returned the summons unexecuted because ; Or
O Other (specify):
My fees are $ for travel and $ for services, for atotal of $  1,365,362.00

I declare under penalty of perjury that this information is true.

Dates Boe
Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
